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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA )
                         )
     v.                  )              Cr. No. 09-10166-MLW
                         )
SALVATORE F. DIMASI,     )
JOSEPH P. LALLY, JR.,    )
RICHARD W. MCDONOUGH,    )
and RICHARD D. VITALE,   )
     Defendants.         )


                         MEMORANDUM AND ORDER

WOLF, D.J.                                                      May 9, 2011

     The court has considered Richard D. Vitale's Motion for

Reconsideration of Court's Order Quashing Prior Subpoena to Joseph

Lally (the "Motion"), and the oppositions to it of the government

and Lally. The court continues to find that the standards described

in United States v. Nixon, 418 U.S. 683, 699-700 (1974), generally

apply to trial subpoenas issued pursuant to Federal Rule of

Criminal Procedure 17. See United States v. Concemi, 957 F.2d 942,

949-50 (1st Cir. 1992). The court also finds that the instant case

is not factually analogous to United States v. Stein, 488 F. Supp.

2d 350, 364-65 (S.D.N.Y. 2007), in which the court found that the

unusually    close   relationship   between    the   government    and   the

cooperating accounting firm made the conduct of the firm "state

action" and the documents at issue subject to production by the

government    pursuant   to   Federal   Rule    of   Criminal     Procedure
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16(a)(1)(E).1 In addition, the court again finds that Vitale has

failed to identify with sufficient specificity e-mails likely to

exist and be admissible to satisfy the Nixon test. See Nixon, 418

U.S. at 699-700; Concemi, 957 F.2d at 949-50.

     However, it is possible that the trial testimony of Lally will

produce information sufficient to meet the Nixon test and justify

the enforcement of the Rule 17 subpoena, in whole or in part.

Therefore, the court is not now deciding whether to quash the

revised subpoena. It is requiring that Lally preserve any e-mails

that are requested by it and be prepared to produce some or all of

them promptly after he provides some testimony.2 See United States


     1
      The close relationship between the government and the
cooperating accounting firm is discussed in greater detail in
United States v. Stein, 541 F.3d 130, 147-48 (2d Cir. 2008),
aff'g, 435 F. Supp. 2d 330 (S.D.N.Y. 2006).
     2
      The messages sought by the revised subpoena are:

     Copies of any and all non-privileged emails sent or
     received by Joseph Lally from May 1, 2010, to the present
     which (1) are between Lally and Dick McDonough or between
     Lally and Dick Vitale or between Lally and Sal DiMasi or
     are parts of email chains including emails to or from any
     of the defendants; or (2) relate to or mention Richard
     Vitale or Salvatore DiMasi or Dick McDonough; or (3)
     relate to the subjects of illegal sports gambling and/or
     the existence of debts to casinos or bookmakers or sports
     betting organizations; or (4) relate to the subject of
     going to trial in this case or entering into a
     plea/cooperation agreement with the government; or (5)
     relate to false or inaccurate reporting of income or
     expenses on Lally's federal income tax returns; or (6)
     relate to Lally's relationship with Cognos and/or Chris
     Quinter or Rick Gilbody.

See Motion Ex. A.

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v. McKnight, 799 F.2d 443, 446 (8th Cir. 1986); United States v.

Rasheed, 663 F.2d 843, 852 (9th Cir. 1981); see also United States

v. Ruggiero, 934 F.2d 440, 449-50 (2d Cir. 1991).

     Accordingly, it is hereby ORDERED that:

     1. Decision on the Motion (Docket No. 494) is RESERVED and the

revised subpoena remains outstanding.

     2. Lally shall preserve the e-mails subject to the revised

subpoena and be prepared to produce some or all of them promptly if

ordered to do so.




                                               /s/ Mark L. Wolf
                                         UNITED STATES DISTRICT JUDGE




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